

Matter of Unruh (2020 NY Slip Op 07977)





Matter of Unruh


2020 NY Slip Op 07977


Decided on December 24, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 24, 2020

PM-171-20

[*1]In the Matter of Rebecca M. Unruh, an Attorney. (Attorney Registration No. 4204988.)

Calendar Date: December 21, 2020

Before: Garry, P.J., Egan Jr., Mulvey, Reynolds Fitzgerald and Colangelo, JJ.


Rebecca M. Unruh, Washington, DC, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Rebecca M. Unruh was admitted to practice by this Court in 2004 and lists a business address in Washington, DC with the Office of Court Administration. Unruh now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Unruh's application.
Upon reading Unruh's affidavit sworn to October 3, 2020 and filed October 26, 2020, and upon reading the December 8, 2020 correspondence in response by the Chief Attorney for AGC, and having determined that Unruh is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Egan Jr., Mulvey, Reynolds Fitzgerald and Colangelo, JJ., concur.
ORDERED that Rebecca M. Unruh's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Rebecca M. Unruh's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Rebecca M. Unruh is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Unruh is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Rebecca M. Unruh shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








